Case 1:20-cv-01397-GBW-SRF Document 54 Filed 05/27/22 Page 1 of 5 PageID #: 2799




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


      PerDiemCo LLC,

                       Plaintiff,
                                                        C.A. No. 1:20-cv-01397-VAC-SRF
            v.
                                                        JURY TRIAL DEMANDED
      CalAmp Corp.,

                       Defendant.


                         PERDIEM’S PARTIALLY OPPOSED MOTION
                           TO AMEND THE SCHEDULING ORDER

           Plaintiff PerDiemCo LLC (“PerDiem”) respectfully requests amendment of the

  Scheduling Order entered in this case as it relates to briefing claim construction issues. PerDiem

  brings this motion pursuant to the Oral Order of April 7, 2022 (D.I. 41) in which this Court

  advised the parties of the authorization to do so. Because Defendant CalAmp Corp. (“CalAmp”)

  is the only party to request construction of any claim term and because CalAmp purports to raise

  more issues than either party can reasonably brief within the existing page limits, PerDiem asks

  this Court to reverse the order in which the parties are to brief the claim construction issues, with

  CalAmp, the proponent of every issue to be presented, going first.1 Alternatively, if it must go

  first, as currently scheduled, PerDiem asks that it be allowed to move 10 pages from its Opening

  Brief to its Reply brief. CalAmp opposes PerDiem’s motion to change the order of briefing but

  does not oppose PerDiem’s alternate request to move the 10 pages so long as CalAmp is granted




  1
   The Scheduling Order currently requires PerDiem to serve the opening claim construction brief.
  CalAmp then serves its answering brief. PerDiem then serves a reply brief followed by CalAmp
  serving a sur-reply brief. D.I. 16 at ¶ 13.


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Case 1:20-cv-01397-GBW-SRF Document 54 Filed 05/27/22 Page 2 of 5 PageID #: 2800




  permission to move 5 pages from its Answering brief to its Sur-Reply. The parties met and

  conferred on these issues on May 24, 2022.

         CalAmp identifies 8 terms and phrases for construction and intends to ask this Court to

  find a further 46 terms invalid for indefiniteness as part of the Markman process.2 If the only

  issues presented to this Court were the 8 terms for which a construction is sought, PerDiem

  would not seek any modification of the current briefing schedule even though it is CalAmp who

  is the proponent of all 8 requested constructions. Although it appears most of the judges in this

  District do not accept validity challenges as part of the Markman process, with former Chief

  Judge Sleet referring to the exclusion of indefiniteness validity challenges at the Markman stage

  as “the Court’s standard policy,” Harvest Tech. Corp. v. Thermogenesis Corp., 12-1354-GMS,

  D.I. 65, at 12 n.4 (D. Del. Sept. 22, 2014), CalAmp nevertheless insists on briefing that issue as

  part of Markman.3 Including those allegations in the Markman briefing increases the number of

  total claim terms in dispute to an unmanageable 54 terms.

         Should this Court permit briefing of CalAmp’s indefiniteness challenges as part of the

  Markman process, the vast majority of the “claim construction” issues raised by CalAmp are

  issues on which CalAmp will bear the burden of proof under the very high clear and convincing

  evidence standard. Thus, the majority of the briefing by the parties and analysis by the Court

  will be directed to issues for which CalAmp bears the burden of proof. For that reason alone, the

  order of briefing should be switched.


  2
   PerDiem did not identify any terms requiring construction. There are two prior claim
  construction orders from the Eastern District of Texas that construe many terms in the patents
  asserted against CalAmp.
  3
   Indefiniteness is an invalidity defense for which CalAmp bears the burden of proof. As with
  any invalidity defense, CalAmp must prove this invalidity defense by clear and convincing
  evidence. See BASF Corp. v. Johnson Matthey Inc., 875 F.3d 1360, 1365 (Fed. Cir. 2017);
  Microsoft Corp. v. i4i Ltd. Partnership, 564 U.S. 91, 111 (2011).


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Case 1:20-cv-01397-GBW-SRF Document 54 Filed 05/27/22 Page 3 of 5 PageID #: 2801




            The briefing order should be switched for a second practical reason. The parties

  conducted a meet and confer call on May 24, 2022 in which PerDiem asked CalAmp to provide a

  very short explanation (even a bullet point) for each allegedly indefinite claim term explaining

  why CalAmp believes the term is indefinite. CalAmp said it could not provide any information

  at that time other than what it said in its May 13, 2022 email that “[f]or each of those terms, after

  reviewing the intrinsic evidence, we could not discern a construction that provided reasonable

  certainty as to the scope of the claim(s).”

            By refusing to provide any insight into why CalAmp alleges each term is indefinite

  (despite CalAmp’s obligation to meet and confer in good faith), PerDiem is left to guess at what

  the real issue is for each term and, based on past experience in prior litigations, PerDiem will

  almost assuredly waste its time and effort presenting arguments in its opening brief that do not

  correctly anticipate what CalAmp’s actual arguments will be. Moreover, and again based on

  prior litigation experience, CalAmp likely will not brief all 46 allegedly indefinite terms,

  narrowing the dispute to a smaller set of terms that can be briefed within existing page limits but

  only after it forced PerDiem to squander valuable pages on terms CalAmp will later drop from

  the dispute.

            In this context, it makes little sense for PerDiem to be required to serve the first claim

  construction brief. PerDiem respectfully submits that the Scheduling Order should be amended

  such that CalAmp serves the first and third briefs, and PerDiem serves the second and fourth

  briefs.

            Alternatively, if PerDiem is required to serve its brief first, as is currently required by the

  Scheduling Order, the parties have agreed to adjust the page limits such that PerDiem’s opening




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Case 1:20-cv-01397-GBW-SRF Document 54 Filed 05/27/22 Page 4 of 5 PageID #: 2802




  brief is limited to 20 pages. CalAmp’s answering brief is limited to 35 pages. PerDiem’s reply

  brief is limited to 30 pages. CalAmp’s sur-reply brief is limited to 15 pages.

         PerDiem strongly believes that the briefing order should be reversed such that CalAmp

  serves the first and third briefs because that will allow PerDiem to actually see why CalAmp

  contends that the 46 claim terms are indefinite so that it can fully respond to the actual arguments

  CalAmp will make. This is especially true since CalAmp bears the burden of showing the terms

  are indefinite and must do so under the clear and convincing evidence standard. This briefing

  order will also benefit the Court because it will not have to review arguments by PerDiem that

  may not squarely address the specific arguments made by CalAmp.

         For the foregoing reasons, PerDiem requests that the Court modify the Scheduling Order

  so that CalAmp serves the first and third claim construction briefs. A proposed order is attached.

                                     D. Del. LR 7.1.1 Statement

         Pursuant to D. Del. LR 7.1.1, the undersigned avers that a reasonable effort has been

  made to reach agreement with CalAmp on the matters set forth in the motion. The parties

  conducted a telephonic meet and confer on May 24, 2022 which included discussion of the issues

  set forth in this motion. Delaware counsel for PerDiem, Peter Mazur, and Delaware counsel for

  CalAmp, Chad Stover, participated in the meet and confer.


  Dated: May 27, 2022                               Respectfully submitted,

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                                                   4
Case 1:20-cv-01397-GBW-SRF Document 54 Filed 05/27/22 Page 5 of 5 PageID #: 2803




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                                       5
